Case 17-15942-MBK     Doc 82   Filed 10/03/17 Entered 10/03/17 21:16:13   Desc Main
                               Document     Page 1 of 2




   NJID 792238
   PHELAN HALLINAN DIAMOND & JONES, PC
   400 Fellowship Road, Suite 100
   Mt. Laurel, NJ 08054
   856-813-5500
   Attorneys for U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF8 MASTER
   PARTICIPATION TRUST

                      UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEW JERSEY

IN RE:                                 : CHAPTER 11
         ANTHONY OTTILIO A/K/A
         ANTHONY V. OTTILIO            : CASE NO. 17-15942-MBK

                                       : NOTICE OF MOTION FOR
    Debtor(s)                          : RELIEF FROM
                                       : STAY

ANTHONY OTTILIO A/K/A ANTHONY           KENNETH J. ROSELLINI, ESQUIRE
V. OTTILIO                              636A VAN HOUTEN AVENUE
511 PASSAIC AVENUE                      CLIFTON, NJ 07013
SPRING LAKE, NJ 07762
                                        ANDREA DOBIN
                                        TRENK DIPASQUALE
                                        427 RIVERVIEW PLAZA
                                        TRENTON, NJ 08611

                                        U.S TRUSTEE
                                        US DEPT OF JUSTICE
                                        OFFICE OF THE US TRUSTEE
                                        ONE NEWARK CENTER STE 2100
                                        NEWARK, NJ 07102

                                        MICHELE M. DUDAS
                                        TRENK,DIPASQUALE,DELLA FERA &
                                        SODONO
                                        347 MT. PLEASANT AVENUE
                                        SUITE 300
                                        WEST ORANGE, NJ 07052
Case 17-15942-MBK        Doc 82     Filed 10/03/17 Entered 10/03/17 21:16:13             Desc Main
                                    Document     Page 2 of 2


                                                BENJAMIN TEICH
                                                OFFICE OF THE UNITED STATES
                                                TRUSTEE
                                                ONE NEWARK CENTER
                                                SUITE 2100
                                                NEWARK, NJ 07102


             PLEASE TAKE NOTICE that on 11/06/2017, at 10:00 AM or as soon as
      counsel may be heard, the undersigned attorney for the secured creditor will move
      before the United States Bankruptcy Court, TRENTON, NJ 08608, New Jersey for
      an Order Vacating the Automatic Stay, with respect to property located at 511
      PASSAIC AVENUE, SPRING LAKE, NJ 07762 and allowing the Attorney for U.S.
      BANK TRUST, N.A., AS TRUSTEE FOR LSF8 MASTER PARTICIPATION
      TRUST to proceed with contractual remedies or other remedies that may be
      available under state law.


             PLEASE TAKE FURTHER NOTICE, that in support of the within
      Motion, the Movant will rely upon the Certification in Support and the proposed
      Order submitted herewith, as well as, oral arguments, if necessary. Pursuant to
      D.N.J. LBR 9013-2, Movant states that no brief or memorandum of law is
      necessary because of the absence of novel or complex questions of law. However,
      if responsive papers are filed in opposition to the Motion, the Movant reserves the
      right to respond to any issues of law raised therein in the form of a brief or a
      memorandum of law.


Dated: September 20, 2017
                                             /s/ James P. Shay
                                             James P. Shay, Esq.
                                             Phelan Hallinan Diamond & Jones, PC
                                             400 Fellowship Road, Suite 100
                                             Mt. Laurel, NJ 08054
                                             Tel: 856-813-5500 Ext. 41326
                                             Fax: 856-813-5501
                                             Email: james.shay@phelanhallinan.com
